         Case 1:20-cv-05441-KPF Document 197 Filed 08/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNIFORMED FIRE OFFICERS
ASSOCIATION, et al.,

                           Plaintiff,               20 Civ. 5441 (KPF)

                    -v.-                                  ORDER

DEBLASIO, et al.,

                           Defendants.

KATHERINE POLK FAILLA, District Judge:

      For the reasons stated in open court during the conference on August

21, 2020, Plaintiffs’ motion for a preliminary injunction is DENIED IN PART

and GRANTED IN PART. Plaintiffs’ request for an injunction is granted to the

extent that Defendants NYPD and CCRB may not disclose records of “Schedule

A” command discipline violations, for cases heard in the Trial Room, and for

which the disposition of the charge at trial or on review or appeal therefrom is

other than “guilty,” which records have been, are currently, or could in the

future be the subject of a request to expunge the record of the case pursuant to

§ 8, for those officers covered by the Police Benevolent Association, Sergeants

Benevolent Association, and Lieutenants Benevolent Association collective

bargaining agreements. Plaintiffs’ request for an injunction is denied in all

other respects.

      SO ORDERED.

Dated:       August 21, 2020
             New York, New York             __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge
